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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                       Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                  Case No. 23-60507 (PGR)

                                 Debtor.


      NOTICE OF FILING OF FOURTH MONTHLY FEE STATEMENT OF
 PACHULSKI STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC
        DIOCESE OF OGDENSBURG, NEW YORK FOR THE PERIOD
            DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

                   PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its Fourth Monthly Fee Statement for Compensation for Services Rendered and Reimbursement

of Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman

Catholic Diocese of Ogdensburg, New York for the Period December 1, 2023 Through

December 31, 2023, a copy of which is attached hereto and is hereby served upon you.




DE:4892-2183-9261.1 18493.002
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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       January 23, 2024
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


    FOURTH MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
    LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
       OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
     CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
      YORK FOR THE PERIOD DECEMBER 1, 2023 THROUGH DECEMBER 31, 2023

    Name of Applicant                                         Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services               Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                        August 17, 20231

    Period for which compensation and                         12/1/23-12/31/23
    Reimbursement is sought:

    Amount of compensation sought as well as                  $ 40,080.00
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as                 $ 3,136.33
    actual, reasonable and necessary:



This is a monthly fee statement. It is the fourth monthly fee statement by Pachulski Stang Ziehl
& Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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Dated: New York, New York                   PACHULSKI STANG ZIEHL & JONES LLP
       January 23, 2024
                                            /s/ Ilan D. Scharf
                                            James I. Stang, Esq. (admitted pro hac vice)
                                            Ilan D. Scharf, Esq.
                                            Karen B. Dine, Esq.
                                            780 Third Avenue, 34th Floor
                                            New York, NY 10017-2024
                                            Telephone: (212) 561-7700
                                            Facsimile: (212) 561-7777
                                            Email: jstang@pszjlaw.com
                                            Email: ischarf@pszjlaw.com
                                            Email: kdine@pszjlaw.com

                                            Counsel for the Official Committee of Unsecured
                                            Creditors of The Roman Catholic Diocese of
                                            Ogdensburg, New York




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                           EXHIBIT A
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                                                                 10100 Santa Monica Blvd.
                                                                 13th Floor
                                                                 Los Angeles, CA 90067




Diocese of Ogdensburg O.C.C.                                     December 31, 2023
IDS                                                              Invoice 136248
                                                                 Client 18493.00002




RE: Committee Representation



           STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 12/31/2023

              FEES                                                $40,080.00
              EXPENSES                                             $3,136.33
              TOTAL CURRENT CHARGES                               $43,216.33

              BALANCE FORWARD                                    $322,746.65
              LAST PAYMENT                                      -$210,743.10
              TOTAL BALANCE DUE                                  $155,219.90
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Summary of Services by Professional
ID       Name                                Title                   Rate     Hours           Amount
IDS      Scharf, Ilan D.                     Partner               800.00     11.40         $9,120.00
IDS      Scharf, Ilan D.                     Partner                 0.00     10.00            $0.00
JSP      Pomerantz, Jason S.                 Partner               800.00     23.30       $18,640.00
EG       Gray, Erin                          Counsel               800.00      7.80         $6,240.00
KBD      Dine, Karen B.                      Counsel               800.00      7.60         $6,080.00
KBD      Dine, Karen B.                      Counsel                 0.00     11.50            $0.00
                                                                    71.60                 $40,080.00
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Summary of Services by Task Code
Task Code       Description                                             Hours                   Amount
AA              Asset Analysis and Recovery                              26.70              $21,360.00
BL              Bankruptcy Litigation                                     1.80               $1,440.00
CA              Case Administration                                       5.10               $4,080.00
CO              Claims Administration and Objections                      2.20               $1,760.00
CP              PSZJ Compensation                                         3.40               $2,720.00
GC              General Creditors' Committee                              5.30               $4,240.00
HE              Hearings                                                  5.20               $4,160.00
ME              Mediation                                                 0.40                  $320.00
PD              Plan and Disclosure Statement                             7.50                    $0.00
TR              Travel                                                   14.00                    $0.00
                                                                         71.60              $40,080.00
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Summary of Expenses
Description                                                                                   Amount
Auto Travel Expense                                                                           $968.12
Court Fees                                                                                    $200.00
Hotel Expense                                                                               $1,452.51
Litigation Support Vendors                                                                    $250.00
Pacer - Court Research                                                                        $206.70
Transcript                                                                                     $59.00
                                                                                            $3,136.33
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                                                                              Hours     Rate          Amount

Asset Analysis and Recovery
12/01/2023 IDS       AA      Review and revise global document request.        1.10   800.00          $880.00
12/01/2023 JSP       AA      Review correspondence/reports/documents in        2.80   800.00       $2,240.00
                             connection with discovery issues

12/03/2023 KBD       AA      Prepare discovery request.                        0.30   800.00          $240.00
12/03/2023 KBD       AA      Analyze documents relating to Everlaw.            0.50   800.00          $400.00
12/04/2023 JSP       AA      Call with K. Dine and I. Scharf regarding         0.30   800.00          $240.00
                             DLF/DTF

12/04/2023 JSP       AA      Review/revise correspondence to Debtor's          0.30   800.00          $240.00
                             counsel regarding DLF/DTF

12/04/2023 KBD       AA      Prepare correspondence to Debtor regarding        0.40   800.00          $320.00
                             discovery.

12/04/2023 KBD       AA      Call with J. Pomerantz and I. Scharf (partial)    0.30   800.00          $240.00
                             regarding discovery.
12/05/2023 JSP       AA      Review correspondence regarding discovery         0.80   800.00          $640.00
                             issues
12/07/2023 KBD       AA      Work on discovery letter.                         0.20   800.00          $160.00
12/10/2023 JSP       AA      Review/revise letter to Debtor's counsel          0.80   800.00          $640.00
                             regarding discovery
12/11/2023 JSP       AA      Review correspondence/documents from K.           0.80   800.00          $640.00
                             Dine regarding discovery
12/11/2023 KBD       AA      Prepare letter regarding document request.        0.20   800.00          $160.00
12/11/2023 KBD       AA      Review final document requests.                   0.20   800.00          $160.00
12/12/2023 JSP       AA      Analyze discovery issues                          0.80   800.00          $640.00
12/13/2023 JSP       AA      Correspondence to Debtor's counsel regarding      0.20   800.00          $160.00
                             meet and confer in connection with discovery
                             requests

12/13/2023 JSP       AA      Review documents in connection with               0.70   800.00          $560.00
                             discovery requests

12/14/2023 IDS       AA      Attention to correspondence regarding             0.40   800.00          $320.00
                             meeting with diocese to meet and confer.

12/14/2023 JSP       AA      Correspondence to Debtor's counsel regarding      0.10   800.00           $80.00
                             discovery requests
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                                                                             Hours     Rate          Amount
12/14/2023 JSP       AA      Attention to issues regarding discovery re       0.40   800.00          $320.00
                             DLF/DTF

12/15/2023 JSP       AA      Review correspondence/documents in               0.80   800.00          $640.00
                             connection with discovery

12/18/2023 JSP       AA      Correspondence to S. Temes regarding non-        0.10   800.00           $80.00
                             response to meet and confer

12/18/2023 JSP       AA      Review discovery documents                       0.80   800.00          $640.00
12/19/2023 IDS       AA      Call with J.S. Pomerantz regarding document      0.20   800.00          $160.00
                             discovery; review correspondence regarding
                             same
12/19/2023 JSP       AA      Correspondence to/from S. Temes regarding        0.10   800.00           $80.00
                             meet and confer
12/19/2023 JSP       AA      Review documents/correspondence in               0.90   800.00          $720.00
                             connection with upcoming meet and confer
                             with Debtor's counsel regarding discovery
                             issues
12/20/2023 IDS       AA      Call with J. Pomerantz, K. Dine regarding        0.30   800.00          $240.00
                             discovery demands
12/20/2023 JSP       AA      Call with I. Scharf and K. Dine regarding        0.30   800.00          $240.00
                             discovery
12/20/2023 JSP       AA      Confer with M. Babcock regarding discovery       0.20   800.00          $160.00
12/20/2023 JSP       AA      Correspondence to S. Temes regarding             0.30   800.00          $240.00
                             discovery

12/20/2023 JSP       AA      Review documents in connection with              0.90   800.00          $720.00
                             pending discovery requests

12/21/2023 JSP       AA      Prepare for call with Debtor's counsel           0.60   800.00          $480.00
                             regarding discovery

12/21/2023 JSP       AA      Participate on call with C. Sullivan and S.      0.30   800.00          $240.00
                             Temes regarding discovery

12/21/2023 JSP       AA      Confer with K. Dine regarding discovery          0.10   800.00           $80.00
                             issues
12/22/2023 JSP       AA      Review discovery requests/notes in connection    1.60   800.00       $1,280.00
                             with same
12/26/2023 JSP       AA      Confer with K. Dine regarding discovery          0.20   800.00          $160.00
12/26/2023 JSP       AA      Confer with M. Babcock regarding discovery       0.20   800.00          $160.00
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                                                                             Hours     Rate          Amount
12/26/2023 JSP       AA      Correspondence from S. Temes regarding           0.10   800.00           $80.00
                             discovery

12/26/2023 JSP       AA      Attention to issues regarding meet and confer    0.50   800.00          $400.00
                             with Debtor's counsel

12/26/2023 KBD       AA      Telephone call with J. Pomerantz regarding       0.20   800.00          $160.00
                             discovery.

12/26/2023 KBD       AA      Analyze correspondence among BSK, PSZJ           0.10   800.00           $80.00
                             and BRG regarding discovery.

12/27/2023 JSP       AA      Attention to issues in connection with call      1.70   800.00       $1,360.00
                             with DOO finance personnel
12/27/2023 JSP       AA      Correspondence to S. Temes regarding call        1.70   800.00       $1,360.00
                             with DOO finance personnel and BRG team
12/28/2023 JSP       AA      Prepare for call regarding discovery issues,     1.60   800.00       $1,280.00
                             including financial information from Debtor's
                             designated finance personnel
12/29/2023 JSP       AA      Notes for discussion with M. Babcock             1.30   800.00       $1,040.00
                             regarding discovery

                                                                             26.70              $21,360.00

Bankruptcy Litigation
12/15/2023 EG        BL      Revise Motion to Intervene in Adversary          1.00   800.00          $800.00
                             Proceeding

12/15/2023 IDS       BL      Call with PSZJ team regarding claims             0.50   800.00          $400.00
                             database.

12/27/2023 EG        BL      Draft email to I. Scharf re: Motion to           0.10   800.00           $80.00
                             Intervene in Insurance Adversary

12/27/2023 JSP       BL      Call with M. Babcock regarding discovery         0.20   800.00          $160.00
                                                                              1.80                $1,440.00

Case Administration
12/05/2023 IDS       CA      Call with BSK team regarding pending             0.40   800.00          $320.00
                             matters
12/06/2023 EG        CA      Update WIP in preparation for 12/7 WIP Call.     1.00   800.00          $800.00
12/07/2023 JSP       CA      Prepare for weekly status call                   0.40   800.00          $320.00
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                                                                            Hours     Rate          Amount
12/11/2023 KBD       CA      Telephone call among PSZJ and Bond              0.20   800.00          $160.00
                             Schoeneck and King regarding outstanding
                             issues.
12/12/2023 EG        CA      Update WIP                                      0.50   800.00          $400.00
12/12/2023 EG        CA      Complile NDA and email Karen Dine re:           0.50   800.00          $400.00
                             same.
12/14/2023 EG        CA      Update WIP list and critical dates.             1.00   800.00          $800.00
12/14/2023 EG        CA      Weekly WIP call with Karen Dine.                0.30   800.00          $240.00
12/15/2023 EG        CA      Update WIP.                                     0.30   800.00          $240.00
12/27/2023 EG        CA      Check docket and update WIP.                    0.50   800.00          $400.00
                                                                             5.10                $4,080.00

Claims Administration and Objections
12/03/2023 KBD       CO      Prepare response to Century reply.              0.80   800.00          $640.00
12/04/2023 KBD       CO      Prepare for hearing on Century motion.          0.80   800.00          $640.00
12/14/2023 EG        CO      Email team re: claims database issues.          0.10   800.00           $80.00
12/15/2023 KBD       CO      Telephone call with B. Michael, L. Forrester    0.50   800.00          $400.00
                             and I. Scharf regarding claims issues.
                                                                             2.20                $1,760.00

PSZJ Compensation
12/05/2023 EG        CP      Prepare and submit certificates of non-         1.00   800.00          $800.00
                             objection to 1st and 2d Monthly Fee
                             Statements (.70); draft email re: billing
                             procedure to team (.20), and draft email to
                             debtor’s counsel re: payment (.10).

12/06/2023 KBD       CP      Prepare monthly fee statement.                  0.60   800.00          $480.00
12/08/2023 JSP       CP      Attention to monthly fee statement              0.40   800.00          $320.00
12/12/2023 EG        CP      Prepare and review Third Interim Fee            0.50   800.00          $400.00
                             Statement.

12/26/2023 EG        CP      Draft email to Accounting re: payment of 1st    0.10   800.00           $80.00
                             and 2d monthly fee statements.

12/27/2023 EG        CP      Draft PSZJ fee summary and email to I.          0.40   800.00          $320.00
                             Scharf and Jason Pomerantz re: same
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                                                                              Hours     Rate          Amount
12/28/2023 EG        CP      Draft and arrange for filing of certificate of    0.40   800.00          $320.00
                             non-objection to 3rd Monthly Fee Statement.

                                                                               3.40                $2,720.00

General Creditors' Committee
12/01/2023 IDS       GC      Counsel meeting regarding pending matters.        0.40   800.00          $320.00
12/01/2023 IDS       GC      Prepare agenda for counsel meeting.               0.40   800.00          $320.00
12/01/2023 IDS       GC      Email memo to SCC regarding case status           0.80   800.00          $640.00
12/01/2023 IDS       GC      Meeting with SCC regarding pending matters        0.40   800.00          $320.00
12/01/2023 KBD       GC      Telephone call (partial) with SCC and PSZJ        0.20   800.00          $160.00
                             regarding ongoing case issues.

12/01/2023 KBD       GC      Follow-up call with I. Scharf regarding next      0.10   800.00           $80.00
                             steps.

12/04/2023 IDS       GC      Email update memo to Committee regarding          0.80   800.00          $640.00
                             pending matters

12/05/2023 IDS       GC      Email to Committee regarding pending              0.40   800.00          $320.00
                             matters
12/06/2023 KBD       GC      Attention to correspondence among                 0.20   800.00          $160.00
                             Committee, SCC and PSZJ.
12/07/2023 KBD       GC      Prepare and review correspondence among           0.10   800.00           $80.00
                             SCC regarding ongoing case issues.
12/11/2023 IDS       GC      Telephone call among PSZJ, Committee and          0.50   800.00          $400.00
                             SCC regarding ongoing case issues.
12/11/2023 KBD       GC      Telephone call among PSZJ, Committee and          0.50   800.00          $400.00
                             SCC regarding ongoing case issues.
12/29/2023 IDS       GC      Email to Committee regarding case status          0.50   800.00          $400.00
                                                                               5.30                $4,240.00

Hearings
12/01/2023 IDS       HE      Prepare for 12/5 hearing.                         1.00   800.00          $800.00
12/04/2023 IDS       HE      Prepare for hearing, including review of filed    1.50   800.00       $1,200.00
                             pleadings
12/05/2023 IDS       HE      Attend hearing on motion for reconsideration,     1.50   800.00       $1,200.00
                             liquidity motion, other matters
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                                                                              Hours     Rate          Amount
12/05/2023 KBD       HE      Prepare for hearing on Century motion with I.     1.20   800.00          $960.00
                             Scharf (partial).

                                                                               5.20                 $4,160.00

Mediation
12/05/2023 IDS       ME      Call with James Stang regarding mediator          0.30   800.00          $240.00
                             selection

12/15/2023 EG        ME      Email K. Dine and I. Scharf re: Judge Zive        0.10   800.00           $80.00
                                                                               0.40                   $320.00

Plan and Disclosure Statement
12/05/2023 KBD       PD      Travel to and from Utica/Syracuse for hearing.    7.50   800.00              N/C
                                                                               7.50                     $0.00

Travel
12/04/2023 IDS       TR      Travel from New Rochelle to Syracuse              4.00   800.00              N/C
12/04/2023 KBD       TR      Travel to Syracuse/Utica for hearing.             4.00   800.00              N/C
12/05/2023 IDS       TR      Travel to hearing from Syracuse                   1.00   800.00              N/C
12/05/2023 IDS       TR      Travel from Utica to New Rochelle                 5.00   800.00              N/C
                                                                              14.00                     $0.00

   TOTAL SERVICES FOR THIS MATTER:                                                             $40,080.00
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Expenses
08/15/2023 HT        DoubleTree Hotel, IDS                                                223.47
09/20/2023 FF        US District Court NY, IDS                                            100.00
09/20/2023 FF        US DIstrict Court NY Pro Hac Vice -(EG) IDS                          100.00
10/04/2023 HT        Embassy Suites Hotel, 10/2 - 10/4, IDS                               604.05
11/06/2023 AT        Elite Transportation, Inv. 1895839, IDS                              197.22
11/07/2023 AT        Elite Transportation, Inv. 1895839, IDS                              198.09
11/08/2023 HT        DoubleTree Syracuse, IDS                                             433.45
12/04/2023 AT        Dial 7 Transportation, to airport related to trip to                  85.39
                     Syracuse/Utica for hearing, KBD

12/04/2023 AT        Elite Transportation, Inv. 1898098, IDS                              185.86
12/04/2023 HT        Embassy Suites, 1 night, KBD                                         191.54
12/05/2023 AT        Elite Transportation, Inv. 1898098, IDS                              198.09
12/06/2023 AT        Curb Transportation, to airport for hearing, KBD                     103.47
12/13/2023 TR        Veritext, Inv#7048586,KLL                                             59.00
12/31/2023 OS        Everlaw Inc, Inv. 101138, Diocese of Ogdensburg database for         250.00
                     the month of December 2023

12/31/2023 PAC       Pacer - Court Research                                               206.70

   Total Expenses for this Matter                                                   $3,136.33
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Client 18493.00002                                                                December 31, 2023


                                             A/R STATEMENT

   Outstanding Balance from prior invoices as of 12/31/2023         (May not include recent payments)
A/R Bill Number           Invoice Date                 Fee Billed   Expenses Billed         Balance Due

135073                     09/30/2023                $36,377.90              $0.00           $36,377.90
135075                     10/31/2023                $15,620.90              $0.00           $15,620.90
135258                     11/30/2023                $58,320.00          $1,684.77           $60,004.77

           Total Amount Due on Current and Prior Invoices:                                   $155,219.90
